         Case 1:17-cv-02270-SCJ Document 69 Filed 09/26/18 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION




                                                       CIVIL ACTION FILE

  In re Aaron’s Inc. Securities Litigation             NO. 1:17-CV-2270-SCJ




                                     JUDGMENT

       This action having come before the court, Honorable Steve C. Jones, United States

District Judge, for consideration of defendants’ motion to dismiss, and the court having

granted said motion, it is

       Ordered and Adjudged that the action be, and the same hereby is, dismissed.

Dated at Atlanta, Georgia, this 26th day of September, 2018.

                                                       JAMES N. HATTEN
                                                       CLERK OF COURT


                                                 By:    s/ Bao Tran Le
                                                       Bao Tran Le, Deputy Clerk

Prepared, Filed, and Entered
in the Clerk=s Office
September 26, 2018
James N. Hatten
Clerk of Court

By:     s/ Bao Tran Le
       Deputy Clerk
